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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )               Case No. 8:06CR133
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )
HARVEY LEE FREEMONT, JR., and               )                     ORDER
JOHN DAVIDSON,                              )
                                            )
                    Defendants.             )

      This case is before the court on the defendant John Davidson’s Motion to Sever

Counts I and II and to sever defendants’ trials [18]. The government opposes the motion.

      Davidson was indicted [1] on May 16, 2006 in Count II of a two-count indictment

which charges him and a co-defendant, Harvey Lee Freemont, Jr., with burglary, in

violation of Title 18, U.S.C. § 1153 and Neb. Rev. Stat. § 28-507. The charge carries a

possible maximum penalty of twenty years imprisonment, a fine not to exceed $250,000,

three years supervised release, and a $100 special assessment. In Count I of the

Indictment, Freemont is charged with manslaughter while operating a motor vehicle under

the influence of alcohol, in violation of Title 18, U.S.C. § 1153 and 1112. If convicted,

Freemont is exposed to a penalty of imprisonment of up to six years, a fine not to exceed

$250,000, three years supervised release, and a $100 special assessment.

                                        ANALYSIS

      Davidson seeks to sever Counts I and II and to sever his trial from his co-defendant,

contending that he would be prejudiced by the joinder because the jury may be improperly

prejudiced against Davidson due to Freemont’s manslaughter charge and the graphic

nature of the evidence on the manslaughter count.
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       Rule 8(b) of the Federal Rules of Criminal Procedure provides that, “two or more

defendants may be charged in the same indictment or information if they are alleged to

have participated in the same act or transaction or in the same series of acts or

transactions constituting an offense or offenses.” As the court recognized in Zafiro v.

United States, 113 S.Ct. 933, 937 (1993), “there is a preference in the federal system for

joint trials of defendants who are indicted together. Joint trials play a vital rule in the

criminal justice system. They promote efficiency and serve the interests of justice by

avoiding the scandal and inequity of inconsistent verdicts.” However, Federal Rule of

Criminal Procedure 14 reflects the recognition that joinder, even when proper under

Rule 8(b), may prejudice either the defendant or the government. For that reason, Rule 14

provides, “[I]f it appears that a defendant or the government is prejudiced by a joinder of

... defendants ... for trial together, the court may order an election or separate trials of

counts, grant a severance of defendants, or provide whatever other relief justice requires.”

       Davidson alleges that he will be improperly prejudiced due to the nature of the

manslaughter charge against Freemont and possible graphic evidence. The evidence in

this case will show that Davidson, Freemont, and Logan Parker were allegedly involved in

a home burglary that was interrupted when the owner of the home returned and Davidson,

Freemont, and Parker fled the scene in a vehicle allegedly driven by Freemont, with the

homeowner in pursuit. While being followed by the homeowner, the Freemont vehicle

crashed resulting in the death of Logan Parker.

       It is clear from the allegations that the events alleged in both Counts I and II are part

of the same series of acts which constitute the charged offenses or flight from the charged

offenses. Additionally, Davidson has failed to show how the evidence would prejudice him,

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that this case is unusually complex, or that the facts would be difficult for a jury to

compartmentalize. I find that a cautionary instruction informing the jury to give separate

consideration of the evidence about each individual defendant and each individual charge

should be sufficient in this case. See, United States v. Ghant, 339 F.3d 660, 666 (8th

Cir. 2003); see also, Zafiro, 506 U.S. at 539. Despite the different facts affecting the

involvement of each defendant to each of the charges, I believe that a jury will be able to

compartmentalize the relevant evidence against each of the defendants. See, United

States v. Kuenstler, 352 F.3d 1015, 1024 (8th Cir. 2003). Also, see, United States v.

Boone, 437 F.3d 829 (2006). Therefore, I conclude that the motion to sever should be

denied based on the defendant’s failure to show prejudice.

       Davidson also raises the issue that he will be prejudiced by the joinder with

Freemont because the jury will be improperly prejudiced by the admission into evidence of

statements made by Freemont. See, Bruton v. United States, 391 U.S. 123 (1968),

wherein the United States Supreme Court held that the admission in a joint trial of a non-

testifying co-defendant’s confession expressly implicating the defendant, violated the

defendant’s right under the Sixth Amendment to confront the witness against him.

However, more recently the United States Supreme Court has held that, “the confrontation

clause is not violated by the admission of a non-testifying co-defendant’s confession with

a proper limiting instruction when, as here, the confession is redacted to eliminate not only

the defendant’s name, but any reference to his or her existence.” See, Richardson v.

Marsh, 481 U.S. 200, 211 (1987). I find the motion should be denied as there is no

evidence in the record that statements by Freemont, if offered, could not be redacted to

satisfy the Bruton issue.

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    IT IS ORDERED:

    1. The defendant’s Motion to Sever [18] is denied.

    Pursuant to NECrimR 57.2, a party may appeal this order by filing a
    "Statement of Appeal of Magistrate Judge's Order" within ten (10) calendar
    days after being served with the order. The party shall specifically state the
    order or portion thereof appealed from and the basis of the appeal. The
    appealing party shall file contemporaneously with the statement of appeal a
    brief setting forth the party's arguments that the magistrate judge's order is
    clearly erroneous or contrary to law. The filing of a statement of appeal
    does not automatically stay the magistrate judge's order pending appeal.
    See NECrimR 57.2(d).


    Dated this 7th day of June 2006.


                                       BY THE COURT:


                                       S/ F. A. Gossett
                                       United States Magistrate Judge




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